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                                                                 PageID#       FILED
                                                                               199
                                                                          IN OPEN COURT


                                                                                       MAR I 3 2019
                    IN THE UNITED STATES DISTRICT COURT FOR THE                    CLERfC U.S. DISTRICT COURT
                                                                                     AL^NDRIA. VIRGINIA
                             EASTERN DISTRICT OF VIRGINIA


                                       Alexandria Division


UNITED STATES OF AMERICA                       )
                                               )
               V.                              ) No. l:16-CR-256
                               )
ISMAEL ENRIQUE TURIAN MIRANDA, )
a/ic/a "Gordo"                 )
                                               )
       Defendant.                              )

                                     PLEA AGREEMENT


       G. Zachary Terwilliger, United States Attorney for the Eastern District of Virginia; Lena

Munasifi, Special Assistant United States Attorney(LT), James L. Trump, Assistant United

States Attorney; the defendant, ISMAEL ENRIQUE TURIAN MIRANDA,and the defendant's

counsel have entered into an agreement pursuant to Rule 11 of the Federal Rules of Criminal

Procedure. The terms of the agreement are as follows:

       1.      Offense and Maximum Penalties


       The defendant agrees to plead guilty to Count One of the indictment charging the

defendant with Conspiracy to Distribute Five Kilograms or More of Cocaine Knowing,

Intending, and Having Reasonable Cause to Believe that it would be Unlawfully Imported into

the United States, in violation of Title 21, United States Code, Sections 963, 960, and 959(a).

The maximum penalties for this offense are a mandatory minimum term of imprisonment of ten

years, a maximum term of life imprisonment, a fine of$10,000,000, forfeiture of assets as

outlined below, a special assessment, and at least five years of supervised release. The defendant

understands that this supervised release term is in addition to any prison term the defendant may
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receive, and that a violation of a term of supervised release could result in the defendant being

retumed to prison for the full term ofsupervised release.

       2.      Detention Pending Sentencing

       The defendant understands that this case is governed by 18 U.S.C. §§ 3143(a)(2) and

3145(c). These provisions provide that a judicial officer shall order that a person who has been

found guilty of an offense ofthis kind be detained unless there are statutory justifications why

such person's detention would not be appropriate.

       3.      Factual Basis for the Plea


       The defendant will plead guilty because the defendant is in fact guilty of the charged

offense. The defendant admits the facts set forth in the statement offacts filed with this plea

agreement and agrees that those facts establish guilt ofthe offense charged beyond a reasonable

doubt. The statement of facts, which is hereby incorporated into this plea agreement, constitutes

a stipulation offacts for purposes of Section IB 1.2(c) ofthe Sentencing Guidelines.

       4.      Assistance and Advice of Counsel


       The defendant is satisfied that the defendant's attomey has rendered effective assistance.

The defendant understands that by entering into this agreement, defendant surrenders certain

rights as provided in this agreement. The defendant understands that the rights of criminal

defendants include the following:

               a.      the right to plead not guilty and to persist in that plea;

               b.      the right to a jury trial;

               c.      the right to be represented by counsel -and, if necessary, have the court

                       appoint counsel - at trial and at every other stage ofthe proceedings; and
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               d.     the right at trial to confront and cross-examine adverse witnesses, to be

                      protected from compelled self-incrimination, to testify and present

                      evidence, and to compel the attendance of witnesses.

       5.      Role of the Court and the Probation Office


       The defendant understands that the Court has jurisdiction and authority to impose any

sentence within the statutory maximum described above but that the Court will determine the

defendant's actual sentence in accordance with 18 U.S.C. § 3553(a). The defendant understands

that the Court has not yet determined a sentence and that any estimate ofthe advisory sentencing

range under the U.S. Sentencing Commission's Sentencing Guidelines Manual the defendant

may have received from the defendant's counsel, the United States, or the Probation Office, is a

prediction, not a promise, and is not binding on the United States, the Probation Office, or the

Court. Additionally, pursuant to the Supreme Court's decision in United States v. Booker,543

U.S. 220(2005), the Court, after considering the factors set forth in 18 U.S.C. § 3553(a), may

impose a sentence above or below the advisory sentencing range, subject only to review by

higher courts for reasonableness. The United States makes no promise or representation

concerning what sentence the defendant will receive, and the defendant cannot withdraw a guilty

plea based upon the actual sentence.

       Further, in accordance with Rule 11(c)(1)(B) ofthe Federal Rules of Criminal Procedure,

the United States and the defendant will recommend to the Court that the following provisions of

the Sentencing Guidelines apply:

       (a)     Pursuant to Section 2D 1.1(c)ofthe Sentencing Guidelines, relating to Drug

Quantity, the defendant was personally involved in the distribution of, or it was reasonably
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foreseeable to the defendant that his co-conspirators distributed in furtherance of the conspiracy,

450 kilograms or more of cocaine (Level 38);

         (b)    The United States and the defendant agree that the defendant has assisted the

government in the investigation and prosecution of the defendant's own misconduct by timely

notifying authorities ofthe defendant's intention to enter a plea of guilty, thereby permitting the

government to avoid preparing for trial and permitting the government and the Court to allocate

their resources efficiently. Ifthe defendant qualifies for a two-level decrease in offense level

pursuant to U.S.S.G. § 3E1.1(a) and the offense level prior to the operation ofthat section is a

level 16 or greater, the government agrees to file, pursuant to U.S.S.G. § 3E1.1(b), a motion prior

to, or at the time of, sentencing for an additional one-level decrease in the defendant's offense

level;

         (c)    Pursuant to Section 3B1.1(a)ofthe Sentencing Guidelines, relating to

Aggravating Role, the defendant was an organizer, leader of a criminal activity that involved five

or more participants or was otherwise extensive, and therefore a 4 level increase applies.

         Aside from the foregoing, the parties have no agreements as to the applicability or

inapplicability of any other sections ofthe Sentencing Guidelines.

         6.     Waiver of Appeal,FOIA and Privacy Act Rights

         The defendant also understands that 18 U.S.C. § 3742 affords a defendant the right to

appeal the sentence imposed. Nonetheless, the defendant knowingly waives the right to appeal

the conviction and any sentence within the statutory maximum described above (or the manner in

which that sentence was determined) on the grounds set forth in 18 U.S.C. § 3742 or on any

ground whatsoever other than an ineffective assistance of counsel claim that is cognizable on

direct appeal, in exchange for the concessions made by the United States in this plea agreement.
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This agreement does not affect the rights or obligations ofthe United States as set forth in 18

U.S.C. § 3742(b). The defendant also hereby waives all rights, whether asserted directly or by a

representative, to request or receive from any department or agency ofthe United States any

records pertaining to the investigation or prosecution of this case, including without limitation

any records that may be sought under the Freedom of Information Act,5 U.S.C. § 552, or the

Privacy Act,5 U.S.C. § 552a.

       7.      Special Assessment

       Before sentencing in this case, the defendant agrees to pay a mandatory special

assessment of$100 per count of conviction.

       8.      Payment of Monetary Penalties

       The defendant understands and agrees that, pursuant to 18 U.S.C. § 3613, whatever

monetary penalties are imposed by the Court will be due immediately and subject to immediate

enforcement by the United States as provided for in Section 3613. Furthermore, within 14 days

ofa request, the defendant agrees to provide all ofthe defendant's financial information to the

United States and the Probation Office and, if requested, to participate in a pre-sentencing

debtor's examination and/or complete a financial statement under penalty of perjury. If the

Court imposes a schedule of payments,the defendant understands that the schedule of payments

is merely a minimum schedule of payments and not the only method, nor a limitation on the

methods, available to the United States to enforce the judgment. Ifthe defendant is incarcerated,

the defendant agrees to voluntarily participate in the Bureau of Prisons' Inmate Financial

Responsibility Program,regardless of whether the Court specifically directs participation or

imposes a schedule of payments.
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       9.      Immunity from Further Prosecution in this District

       The United States will not further criminally prosecute the defendant in the Eastern

District of Virginia for the specific conduct described in the indictment or statement offacts,

except that the United States may prosecute the defendant for any crime of violence or

conspiracy to commit, or aiding and abetting, a crime of violence not charged in the indictment

as an offense. In such a prosecution the United States may allege and prove conduct described in

the indictment or statement offacts. "Crime of violence" has the meaning set forth in 18 U.S.C.

§16.

       10.     Defendant's Cooperation

       The defendant agrees to cooperate fully and truthfully with the United States, and provide

all information known to the defendant regarding any criminal activity as requested by the

government. In that regard:

               a.     The defendant agrees to testify truthfully and completely at any grand

                      juries, trials or other proceedings.

               b.     The defendant agrees to be reasonably available for debriefing and pre-

                      trial conferences as the United States may require.

               c.     The defendant agrees to provide all documents, records, writings, or

                       materials of any kind in the defendant's possession or under the

                       defendant's care, custody, or control relating directly or indirectly to all

                       areas ofinquiry and investigation.

               d.     The defendant agrees that, at the request ofthe United States, the

                       defendant will voluntarily submit to polygraph examinations, and that the
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                      United States will choose the polygraph examiner and specify the

                      procedures for the examinations.

               e.     The defendant agrees that the Statement of Facts is limited to information

                      to support the plea. The defendant will provide more detailed facts

                      relating to this case during ensuing debriefings.

              f.      The defendant is hereby on notice that the defendant may not violate any

                      federal, state, or local criminal law while cooperating with the

                      government, and that the government will, in its discretion, consider any

                      such violation in evaluating whether to file a motion for a downward

                      departure or reduction of sentence.

               g.     Nothing in this agreement places any obligation on the government to seek

                      the defendant's cooperation or assistance.

       11.     Use ofInformation Provided by the Defendant Under This Agreement

       The United States will not use any truthful information provided pursuant to this

agreement in any criminal prosecution against the defendant in the Eastern District of Virginia,

except in any prosecution for a crime of violence or conspiracy to commit, or aiding and

abetting, a crime of violence (as defined in 18 U.S.C. § 16). Pursuant to U.S.S.G. § 1B1.8, no

truthful information that the defendant provides under this agreement will be used in determining

the applicable guideline range, except as provided in Section IB 1.8(b). Nothing in this plea

agreement, however, restricts the Court's or Probation Officer's access to information and

records in the possession of the United States. Furthermore, nothing in this agreement prevents

the government in any way from prosecuting the defendant should the defendant knowingly

provide false, untruthful, or perjurious information or testimony, or from using information
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provided by the defendant in furtherance of any forfeiture action, whether criminal or civil,

administrative or judicial. The United States will bring this plea agreement and the full extent of

the defendant's cooperation to the attention of other prosecuting offices if requested.

       12.     Prosecution in Other Jurisdictions


       The United States Attorney's Office for the Eastern District of Virginia will not contact

any other state or federal prosecuting jurisdiction and voluntarily turn over truthful information

that the defendant provides under this agreement to aid a prosecution of the defendant in that

jurisdiction. Should any other prosecuting jurisdiction attempt to use truthful information the

defendant provides pursuant to this agreement against the defendant, the United States

Attorney's Office for the Eastern District of Virginia agrees, upon request, to contact that

jurisdiction and ask thatjurisdiction to abide by the immunity provisions ofthis plea agreement.

The parties understand that the prosecuting jurisdiction retains the discretion over whether to use

such information.


       13.     Defendant Must Provide Full, Complete, and Truthful Cooperation

       This plea agreement is not conditioned upon charges being brought against any other

individual. This plea agreement is not conditioned upon any outcome in any pending

investigation. This plea agreement is not conditioned upon any result in any future prosecution

which may occur because ofthe defendant's cooperation. This plea agreement is not

conditioned upon any result in any future grand jury presentation or trial involving charges

resulting from this investigation. This plea agreement is conditioned upon the defendant

providing full, complete and truthful cooperation.
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       14.     Motion for a Downward Departure

       The parties agree that the United States reserves the right to seek any departure from the

applicable sentencing guidelines, pursuant to Section 5K1.1 ofthe Sentencing Guidelines and

Policy Statements, or any reduction of sentence pursuant to Rule 35(b) of the Federal Rules of

Criminal Procedure, if, in its sole discretion, the United States determines that such a departure

or reduction of sentence is appropriate. In addition, the defendant understands that the Court—

not the United States—^will decide what, if any, reduction in sentence is appropriate.

       15.     Forfeiture Agreement

       The defendant understands that the forfeiture of assets is part ofthe sentence that must be

imposed in this case. The defendant agrees to forfeit all interests in any drug-related asset that

the defendant owns or over which the defendant exercises control, directly or indirectly, as well

as any property that is traceable to, derived from,fungible with, or a substitute for property that

constitutes the proceeds of his offense, or facilitating property or property involved in the

offense. The defendant understands that if proceeds of the offense are not available to the United

States to be forfeited, the Court must enter a forfeiture money judgment in the amount ofthe

proceeds. United States v. Blackman, 746 F.3d 137(4th Cir. 2014). The defendant further

agrees to waive all interest in the asset(s) in any administrative or judicial forfeiture proceeding,

whether criminal or civil, state or federal. The defendant agrees to consent to the entry of orders

offorfeiture for such property and waives the requirements of Federal Rules of Criminal

Procedure 32.2 and 43(a)regarding notice ofthe forfeiture in the charging instrument,

announcement ofthe forfeiture at sentencing, and incorporation of the forfeiture in the judgment.

Defendant admits and agrees that the conduct described in the charging instrument and
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Statement of Facts provides a sufficient factual and statutory basis for the forfeiture of the

property sought by the government.

        16.     Waiver of Further Review of Forfeiture


        The defendant further agrees to waive all constitutional and statutory challenges to

forfeiture in any manner (including direct appeal, habeas corpus, or any other means)to any

forfeiture carried out in accordance with this Plea Agreement on any grounds, including that the

forfeiture constitutes an excessive fine or punishment. The defendant also waives any failure by

the Court to advise the defendant of any applicable forfeiture at the time the guilty plea is

accepted as required by Rule 1 l(b)(l)(J). The defendant agrees to take all steps as requested by

the United States to pass clear title to forfeitable assets to the United States, and to testify

truthfully in any judicial forfeiture proceeding. The defendant understands and agrees that all

property covered by this agreement is subject to forfeiture as proceeds of illegal conduct,

property facilitating illegal conduct, property involved in illegal conduct giving rise to forfeiture,

or substitute assets for property otherwise subject to forfeiture.

        17.     The Defendant's Obligations Regarding Assets Subject to Forfeiture

        Upon request by the government, the defendant agrees to identify all assets in which the

defendant had any interest or over which the defendant exercises or exercised control, directly or

indirectly, within the past ten years. The defendant agrees to take all steps as requested by the

United States to obtain from any other parties by any lawful means any records of assets owned

at any time by the defendant. The defendant agrees to undergo any polygraph examination the

United States may choose to administer concerning such assets and to provide and/or consent to

the release ofthe defendant's tax returns for the previous five years.




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       18.     Impact of Guilty Plea on Immigration Status

       The defendant recognizes that pleading guilty may have consequences with respect to

defendant's immigration status if defendant is not a citizen ofthe United States, or the

defendant's naturalized status, if the defendant is a naturalized citizen. Under federal law, a

broad range ofcrimes are removable offenses, including the offense to which defendant is

pleading guilty. Indeed, because defendant is pleading guilty to Conspiracy to Distribute Five

Kilograms or More of Cocaine Knowing,Intending, and Having Reasonable Cause to Believe

that it would be Unlawfully Imported into the United States, removal is presumptively

mandatory. Because removal and other immigration consequences, including denaturalization,

are the subjects of a separate proceeding, the defendant understands that no one,including

defendant's attorney or the District Court, can predict to a certainty the effect ofthe defendant's

conviction on defendant's immigration status. Defendant nevertheless affirms that defendant

wants to plead guilty regardless of any immigration consequences that defendant's plea may

entail, even ifthe consequence is the defendant's automatic removal from the United States.

       19.     Breach of the Plea Agreement and Remedies

       This agreement is effective when signed by the defendant, the defendant's attorney, and

an attorney for the United States. The defendant agrees to entry ofthis plea agreement at the

date and time scheduled with the Court by the United States (in consultation with the defendant's

attorney). If the defendant withdraws from this agreement, or commits or attempts to commit

any additional federal, state or local crimes, or intentionally gives materially false, incomplete, or

misleading testimony or information, or otherwise violates any provision ofthis agreement,then:

               a.      The United States will be released from its obligations under this

                       agreement,including any obligation to seek a downward departure or a




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                      reduction in sentence. The defendant, however, may not withdraw the

                      guilty plea entered pursuant to this agreement;

              b.      The defendant will be subject to prosecution for any federal criminal

                      violation, including, but not limited to, peijury and obstruction ofjustice,

                      that is not time-barred by the applicable statute of limitations on the date

                      this agreement is signed. Notwithstanding the subsequent expiration of

                      the statute oflimitations, in any such prosecution, the defendant agrees to

                      waive any statute-of-limitations defense; and

              c.      Any prosecution, including the prosecution that is the subject ofthis

                      agreement, may be premised upon any information provided, or

                      statements made, by the defendant, and all such information, statements,

                      and leads derived therefrom may be used against the defendant. The

                      defendant waives any right to claim that statements made before or after

                      the date of this agreement, including the statement offacts accompanying

                      this agreement or adopted by the defendant and any other statements made

                      pursuant to this or any other agreement with the United States, should be

                      excluded or suppressed under Fed. R. Evid. 410, Fed. R. Crim. P. 11(f),

                      the Sentencing Guidelines or any other provision ofthe Constitution or

                      federal law.


       Any alleged breach ofthis agreement by either party shall be determined by the Court in

an appropriate proceeding at which the defendant's disclosures and documentary evidence shall

be admissible and at which the moving party shall be required to establish a breach ofthe plea

agreement by a preponderance ofthe evidence. The proceeding established by this paragraph




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does not apply, however, to the decision of the United States whether to file a motion based on

"substantial assistance" as that phrase is used in Rule 35(b) of the Federal Rules of Criminal

Procedure and Section 5K1.1 of the Sentencing Guidelines and Policy Statements. The

defendant agrees that the decision whether to file such a motion rests in the sole discretion of the

United States.


       20.       Nature of the Agreement and Modifications

       This written agreement constitutes the complete plea agreement between the United

States, the defendant, and the defendant's counsel. The defendant and the defendant's attomey

acknowledge that no threats, promises, or representations have been made, nor agreements

reached, other than those set forth in writing in this plea agreement, to cause the defendant to

plead guilty. Any modification of this plea agreement shall be valid only as set forth in writing

in a supplemental or revised plea agreement signed by all parties.




                                               G. Zachary Terwilliger
                                               United States Attomey




                                         By:
                                               Lena Munasifi
                                               Special Assistant United States Attomey(LT)
                                               James L. Tmmp
                                               Assistant United States Attorney

X


X


X


X


X




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X



         Defendant's Signature: I hereby agree that I have consulted with my attorney and fiilly
understand all rights with respect to the pending criminal indictment. Further, I fully understand
all rights with respect to Title 18, United States Code, Section 3553 and the provisions ofthe
Sentencing Guidelines Manual^at may apply in my case. I have carefully reviewed every part
ofit with my attorney. I unde^tand this agreement and voluntarily agree to it.


Date
                                               RIAN MIRANDA




        Defense Counsel Signature: I am counsel for the defendant in this case. I have fully
explained to the defendant the defendant's rights with respect to the pending criminal indictment.
Further, I have reviewed Title 18, United States Code, Section 3553 and the Sentencing
Guidelines Manual, and I have fully explained to the defendant the provisions that may apply in
this case. I have carefully reviewed every part ofthis plea agreement with the defendant. To my
knowledge,the defendant's decision to enter into this agreement is an informed and voluntary
one.




                                                     A

Date:3A//
             r        Michael Arif
                      Counsel for the Defendant




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